Case 6:06-cv-01476-JA-KRS Document 50 Filed 05/03/07 Page 1 of 10 PageID 1199




                                UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                           O RLANDO D IVISION

   THOMAS FRANCIS REBMAN AND
   DANNY BRANDNER, INDIVIDUALLY
   AND ON BEHALF OF ALL OTHERS
   SIMILARLY SITUATED,

                                  Plaintiffs,

   -vs-                                                    Case No. 6:06-cv-1476-Orl-28KRS

   FOLLET HIGHER EDUCATION GROUP,
   INC., DAYTONA BEACH COMMUNITY
   COLLEGE, INC.,

                           Defendants.
   ______________________________________

                                                 ORDER

             This cause came on for consideration without oral argument on the following motions filed

   herein:

                MOTION:       PLAINTIFFS’ MOTION TO COMPEL DEFENDANT
                              FOLLETT HIGHER EDUCATION GROUP, INC. TO
                              FULLY RESPOND TO PLAINTIFFS’ FIRST AND
                              SECOND REQUEST FOR PRODUCTION AND FIRST
                              SET OF INTERROGATORIES (Doc. No. 35)

                FILED:      February 27, 2007
                _______________________________________________________

                THEREON it is ORDERED that the motion is GRANTED in part and
                DENIED in part.
Case 6:06-cv-01476-JA-KRS Document 50 Filed 05/03/07 Page 2 of 10 PageID 1200




              MOTION:         PLAINTIFFS’ MOTION FOR LEAVE OF COURT TO
                              FILE REPLY IN FURTHER SUPPORT OF THEIR
                              MOTION TO COMPEL DEFENDANT FOLLETT
                              HIGHER EDUCATION GROUP TO FULLY RESPOND
                              TO PLAINTIFFS’ FIRST AND SECOND REQUEST FOR
                              PRODUCTION AND FIRST SET OF
                              INTERROGATORIES (Doc. No. 46)

              FILED:      March 23, 2007
              _______________________________________________________

              THEREON it is ORDERED that the motion is DENIED.

   I.     INTRODUCTION.

          Plaintiffs Thomas Francis Rebman and Danny Brandner, who are students at Daytona Beach

   Community College (DBCC), filed a putative class action complaint against Defendants Follett Higher

   Education Group, Inc. (Follett)1 and Daytona Beach Community College, Inc. (DBCC). They allege

   that Follett and DBCC entered into a contract that limits the amount that Follett is contractually

   entitled to charge for the sale of textbooks or to pay for the repurchase (buyback) of textbooks. They

   further allege that Follett violated the contractual price and payment provisions with respect to books

   purchased by the plaintiffs, and that DBCC is aware of Follett’s practices but facilitates such practices

   because Follett shares revenues with DBCC. The specific causes of action stated by the plaintiffs in

   the complaint are two counts of Third-Party Breach of Contract, two counts of Violation of the Florida

   Deceptive and Unfair Trade Practices Act, and one count of Civil Conspiracy. Doc. No. 1.

          Rebman and Brandner seek to represent a class of other similarly situated individuals who

   purchased textbooks or resold textbooks at any bookstore operated by Follett throughout the United


          1
             While the complaint names the defendant as Follet Higher Education Group, Inc., it appears
   that the proper spelling is Follett Higher Education Group, Inc. See Doc. No. 41-2.

                                                     -2-
Case 6:06-cv-01476-JA-KRS Document 50 Filed 05/03/07 Page 3 of 10 PageID 1201




   States (hereinafter the “Follett Campus Bookstore(s)”) and paid more or received less than the amount

   Follett was required to pay pursuant to the relevant contract. They also seek certification of subclasses

   of individuals who purchased or resold textbooks at any Follett Campus Bookstore in Florida, and at

   any Follett Campus Bookstore at DBCC. Doc. No. 1.

          The presiding District Judge, the Honorable John Antoon, II, denied the motion to dismiss the

   complaint. Doc. No. 49. Accordingly, it is appropriate to permit the parties to engage in class

   certification discovery. Rebman and Brandner now seek an order compelling Follett to respond more

   fully to outstanding discovery requests. I will discuss the discovery requests in dispute by category.

   II.    ANALYSIS.

          A.      Requests for Production Regarding Compliance with Contract Prices.

          In their First Request for Production of Documents, requests 1 and 2, the plaintiffs ask for all

   contracts between Follett and any college or university at which it operated or managed a bookstore

   at any time in the previous five years.2 In requests 21 and 22, the plaintiffs ask for information about

   textbooks that Follett was required to buy back under the academic adoption program. In requests 5,

   7, 8, and 10, the plaintiffs ask for documents showing the price at which textbooks were sold at the

   bookstores referred to in requests 1 and 2, as well as the retail price of such textbooks.3 In requests,

   13, 14, 15, and 16, the plaintiffs ask for the same types of documents with respect to the price that

   Follett paid for each textbook it purchased.


          2
             Each pair of requests in this category first asks for documents as to Follett bookstores in
   Florida and next asks for documents as to Follett bookstores throughout the United States.
          3
             In requests 6 and 9, the plaintiffs ask for all documents showing the “new textbook selling
   price” of textbooks referred to in requests 5 and 8. It is unclear what documents are sought beyond
   those responsive to the other requests in these categories.

                                                     -3-
Case 6:06-cv-01476-JA-KRS Document 50 Filed 05/03/07 Page 4 of 10 PageID 1202




           Follett responded to requests 1 and 2 by producing each form of language used in the

   responsive contracts. It objected to producing the contracts themselves as beyond the scope of

   permissible discovery, overbroad, burdensome and requested merely to harass and annoy Follett.

   Follett declined to produce any documents responsive to the other requests in this category based on

   the same objections.

           The documents requested are directly relevant to establishing the elements necessary to support

   class certification as outlined in Federal Rule of Civil Procedure 23(a) and (b) – specifically including

   numerosity of the class members; commonality of questions of fact or law; typicality of the claims of

   the class members; and whether proceeding as a class action is appropriate. Cf. Klay v. Humana, Inc.,

   382 F.3d 1241, 1252-60 (11th Cir. 2004)(reviewing evidence that plaintiffs must present at class

   certification stage); In re Tri-State Crematory Litig., 215 F.R.D. 660, 689-91 (N.D. Ga. 2003)(same).

    Thus, Follett’s argument that the requested information is not relevant is unavailing.

           Simply viewing the various forms of language used in contracts by Follett, without the dates

   on which the contracts were applicable and the specific locations to which the contracts applied,

   would not be sufficient to learn whether there are other putative class members who paid more or

   received less than the amount required by the relevant contract. Thus, Follett’s contention that it has

   produced all of the discoverable information is not well taken. However, with respect to the

   overbreadth objection, the plaintiffs have not established why they need five years of contracts at this

   stage of the litigation. Accordingly, the motion to compel a further response to First Request for

   Production of Documents, requests 1 and 2, is GRANTED in part. It is ORDERED that Follett shall




                                                     -4-
Case 6:06-cv-01476-JA-KRS Document 50 Filed 05/03/07 Page 5 of 10 PageID 1203




   produce all responsive contracts in its possession, custody or control that were effective for textbook

   sales and buybacks at Follett Campus Bookstores for the years 2005 and 2006.

          With respect to its burdensomeness objection to the remaining requests in this category, Follett

   presented the Declaration of Douglas M. Thompson, Senior Vice President and Chief Information

   Officer for Follett. Doc. No. 41-2. Thompson avers that before 2005, Follett Campus Bookstores used

   a textbook management system called Tom Tracks. Id. ¶ 4. Beginning in 2005, 266 of the Follett

   Campus Bookstores began using the newer Course Tracks system. Id. These systems differ in that

   Tom Tracks uses arbitrarily assigned SKU numbers to track textbooks, while Course Tracks uses a

   standardized SKU number. Id. ¶¶ 5, 7, 16. Only the individual stores can determine which SKU

   number relates to which textbook in the Tom Tracks system. Id. ¶ 6. The information linking a

   textbook to a particular SKU number in Tom Tracks is kept only for twelve to fifteen months. Id. ¶

   6.4

          Each textbook sale is captured in Follett’s MMS electronic database. Id. ¶ 5. There are more

   than 200 million sales transactions contained in MMS from June 2001 to the date of Thompson’s

   affidavit. Id. ¶ 8. Thompson avers that it would be necessary to create a special software program to

   capture the information requested by Plaintiffs and translate the information into a meaningful and

   readable format. Id. ¶ 9, 17. 5


          4
             Textbooks repurchased by Follett are tracked differently in Tom Tracks. With respect to
   buyback transactions at stores using Tom Tracks, the information is not centrally captured, and is kept
   at individual stores for only twelve to fifteen months. Id. ¶ 12.
          5
             The plaintiffs submitted the Declaration of Robert Peebles, who was the Trade Book
   Manager at a Follett Campus Bookstore at The Catholic University of America. Doc. No. 35-9.
   Peebles avers that Follett has the capacity to run reports that reflect detailed information about the
   purchase and sale of textbooks. His declaration is insufficient to establish that the reports would

                                                     -5-
Case 6:06-cv-01476-JA-KRS Document 50 Filed 05/03/07 Page 6 of 10 PageID 1204




          Thompson’s declaration is sufficient to support Follett’s objection to the requests in this

   category as unduly burdensome and overbroad. Accordingly, the motion to compel a further response

   to First Request for Production of Documents, requests 5, 6, 7, 8, 9, 10, 13, 14, 15, 16, 21, and 22, is

   DENIED. The plaintiffs may serve new, more narrowly tailored requests for production of documents

   limited to the years 2005 and 2006. Before doing so, however, counsel for the parties must confer in

   a good faith effort to discuss the form in which electronically stored information should be produced

   and how to ameliorate the costs attendant to production of the information. See Fed. R. Civ. P. 26(f)

   & 2006 Advisory Committee Notes to that Rule.6

          B.      Documents Relating to Merits and Damages.

          In their First Request for Production of Documents, requests 17, 18, 19, and 20, the plaintiffs

   seek information about the gross revenues earned and expended for textbook transactions at Follett

   Campus Bookstores for the previous five years. It appears that these requests are designed to develop

   information about the recoverable damages. See Doc. No. 35 at 13 (“These requests are related to the

   merits of Plaintiffs’ claims, and particularly to damages . . . .”). In requests 23 and 24, and in

   Plaintiff’s First Set of Interrogatories, interrogatory 2, plaintiffs seek information about money paid

   by Follett to the colleges and universities at which the Follett Campus Bookstores were located. It

   appears that these requests are designed to gather information as to why the contracting colleges and

   universities did not enforce the contracts regarding prices paid for sale and buyback of textbooks. In

   interrogatories 3 and 4, the plaintiffs seek information about the number of new and used textbooks


   present the detailed information requested by the plaintiffs.
          6
             Nothing in this order prohibits the plaintiffs from seeking discovery relevant to their
   individual claims.

                                                     -6-
Case 6:06-cv-01476-JA-KRS Document 50 Filed 05/03/07 Page 7 of 10 PageID 1205




   purchased and/or sold by Follett. Finally, in requests 25, 26, 27, and 28, plaintiffs seek production of

   documents that refer to “faculty adoption incentive programs”and “guaranteed pricing,” and, in

   requests 31 and 32, seek other documents concerning Follett’s textbook sales practices, all of which,

   the plaintiffs argue, would be relevant to establish the merits of their claims. Follett objected to these

   requests as overbroad, unduly burdensome, seeking information not reasonably calculated to lead to

   the discovery of admissible evidence, and designed to harass and annoy Follett.

           While merits and damages discovery may be appropriate at some stage of the litigation, it is

   premature to require Follett to produce the detailed information requested at this time as to the entire

   putative class. Cf. Washington v. Brown & Williamson Tobacco Corp., 959 F.2d 1566, 1570-71 (11th

   Cir. 1992)(“To make early class determination practicable and to best serve the ends of fairness and

   efficiency, courts may allow classwide discovery on the certification issue and postpone classwide

   discovery on the merits.”).

           Accordingly, the motion to compel production of documents responsive to First Request for

   Production, requests 17, 18, 19, 20, 23, 24, 25, 26, 27, 28, 31, and 32, and Plaintiff’s First Set of

   Interrogatories, interrogatories 2, 3, and 4, is DENIED without prejudice to renewing it, if appropriate,

   after a class is certified or ninety days before the close of discovery if the class certification issue is not

   resolved by that date. The plaintiffs may, however, seek discovery of information on the merits of and

   damages arising from their individual claims at any time.

           In its presentations to the Court, Follett may not rely on evidence that it objected to producing

   in discovery. Accordingly, it is ORDERED that Follett must, before relying upon such evidence,




                                                        -7-
Case 6:06-cv-01476-JA-KRS Document 50 Filed 05/03/07 Page 8 of 10 PageID 1206




   produce all documents responsive to these discovery requests to counsel for the plaintiffs or file a

   motion for a protective order supported by good cause to relieve it from this obligation.

          C.      Discovery Regarding Textbook Selection Practices.

          In their First Request for Production of Documents, requests 34, 35, 36, and 37, the plaintiffs

   seek documents showing the manner in which Follett selected course textbooks. Follett objects to

   these requests on the same basis it objected to the requests discussed above, but states that “documents

   responsive to this request will be made available for inspection following the entry of a mutually

   acceptable confidentiality order.” Doc. No. 35 at 18.

          The Federal Rules of Civil Procedure do not permit a party to withhold responsive documents

   as a method of coercing the requesting party to enter into a confidentiality agreement. Rather, Rule

   26(c) requires the party from whom discovery is sought to move for a protective order if good cause

   exists to support such an order. See Middle District Discovery (2001) at 20 (“Upon receipt of

   objectionable discovery, a party has a duty to seek relief immediately, i.e., without waiting until the

   discovery is due or almost due.”). In its response to the motion, Follett did not present any argument

   as to why good cause supports protection of responsive information, although it is unclear whether any

   responsive documents have been withheld. See Doc. No. 41 at 21 (Follett’s counsel represents that

   “responsive documents were not withheld in connection with requests where Follett stated that

   responsive documents would be produced without waiving its objections to those requests.”).

          Accordingly, it is ORDERED that the motion to compel production of documents responsive

   to requests 34, 35, 36, and 37 is GRANTED based upon Follett’s agreement to produce such

   documents, to the extent that responsive documents have not already been produced.



                                                     -8-
Case 6:06-cv-01476-JA-KRS Document 50 Filed 05/03/07 Page 9 of 10 PageID 1207




          D.      Audits of Colleges and Universities.

          In their Second Request for Production of Documents, requests 1 and 2, the plaintiffs seek all

   audits of any college or university at which there is a Follett Campus Bookstore for the last five years.

   The requests do not limit the subject-matter to audits pertaining to these colleges and universities’

   compliance with contractual requirements regarding the price at which textbooks were sold or

   purchased. As such, the requests are facially overbroad.

          Follett agreed to produce responsive documents regarding “audits conducted in connection with

   DBCC’s bookstores” upon entry into a mutually acceptable confidentiality order. Doc. No. 35 at 19.

   For the reasons discussed above, Follett’s failure to move for a protective order undermines its

   argument that a confidentiality order must be entered before it should be required to produce

   documents pursuant to its agreement to do so. Accordingly, it is ORDERED that the motion to

   produce documents responsive to the Second Request for Production of Documents, requests 1 and

   2, is GRANTED with respect to audits conducted of Daytona Beach Community College bookstores

   for the previous five years, but DENIED in all other respects.




                                                     -9-
Case 6:06-cv-01476-JA-KRS Document 50 Filed 05/03/07 Page 10 of 10 PageID 1208




    III.   CONCLUSION.

           It is ORDERED that, on or before May 18, 2007, Follett shall produce for inspection and

    copying all documents responsive to First Request for Production of Documents, requests 1, 2, 34, 35,

    36, and 37, and Second Request for Production of Documents, requests 1 and 2, to the extent required

    by this order.

                     DONE and ORDERED in Orlando, Florida on May 3, 2007.

                                                                    Karla R. Spaulding
                                                                 KARLA R. SPAULDING
                                                           UNITED STATES MAGISTRATE JUDGE

    Copies furnished to:

    Counsel of Record
    Unrepresented Parties




                                                    -10-
